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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



RUBY FREEMAN and WANDREA’ MOSS,

                                Plaintiffs,
                                                                      No. 24-cv-06563-LJL
v.

RUDOLPH W. GIULIANI,

                                Defendant.



                          [PROPOSED] JOINT PRETRIAL ORDER

          Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) and Defendant Rudolph W.

Giuliani (“Defendant”)respectfully submit this Proposed Joint Pretrial Order. Plaintiffs’ counsel

and Defendant’s counsel met and conferred on the morning on January 8, 2025 and were able to

resolve a number of evidentiary disputes. Plaintiffs’ counsel and Defendant’s counsel have agreed

to continue meeting and conferring following the submission of this Proposed Joint Pretrial Order

to attempt to resolve additional evidentiary disputes in advance of trial. Plaintiffs’ counsel and

Defendant’s counsel have also stipulated to all of the facts mutually agreed to by the parties in the

summary judgment 56.1 filings (ECF Nos. 45, 57) which is attached to this filing as an exhibit.

     I.      Case Caption: The case caption for this matter is Ruby Freeman and Wandrea’ Moss

             v. Rudolph W. Giuliani, Case No. 24-cv-06563-LJL.

 II.         Counsel: Plaintiffs are represented by Michael J. Gottlieb (mgottlieb@willkie.com;

             202-303-1442), and Meryl C. Governski (mgovernski@willkie.com; 202-303-1000) of

             Willkie Farr & Gallagher LLP, 1875 K Street NW, Washington, D.C. 20015, Aaron

             Nathan (anathan@willkie.com; 212-728-8904), and M. Annie Houghton-Larsen
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          (mhoughton-larsen@willkie.com; 212-728-8164) of Willkie Farr & Gallagher, 787

          Seventh Avenue, New York, New York 10019, and Rachel Goodman

          (rachel.goodman@protectdemocracy.org; 202-579-4582) of United to Protect

          Democracy, 82 Nassau Street, #601, New York, New York 10038. Defendant is

          represented by Joseph Michael Cammarata (joe@cammaratalawpc.com; 718-477-

          0020) of Cammarata & De Meyer P.C., 456 Arlene Street, Staten Island, New York

          10314.

III.      Subject Matter Jurisdiction

          a. Plaintiffs’ position: This Court has subject matter jurisdiction over this case

             pursuant to 28 U.S.C. § 1332(a)(1). Plaintiffs are citizens of Georgia. ECF No. 1

             (“Compl.”), ¶¶ 5-6; ECF No. 62 (“Amended Answer”), ¶¶ 5-6. Plaintiffs’ position

             is that Defendant is a citizen of New York, and Defendant admits that he is at least

             a citizen of a different State than Plaintiffs. Compl. ¶¶ 7, 8; Amended Answer ¶ 8.

             The amount in controversy exceeds $75,000. See Compl. ¶ 8; Amended Answer

             ¶ 8.

          b. Defendant’s position: Defendant is a citizen, resident and domiciliary of Palm

             Beach County, State of Florida (ECF No. 1 (“Compl.”), ¶7; ECF No. 62

             (“Answer”), ¶ 7.) Plaintiffs are citizens of Georgia. ECF No. 1 (“Compl.”). This

             Court does not have subject matter jurisdiction over this case as the Declaratory

             Judgment Act, 28 U.S.C.S. § 2201 does not expand jurisdiction (In re Joint E. & S.

             Asbestos Litig., 14 F.3d 726 (2nd Cir. 1993)). The Declaratory Judgment Act, 28

             U.S.C.S. § 2201 does not provide this Court with an independent cause of action.




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IV.      Summary of Claims and Defenses

         a. Plaintiffs’ position: that the claims to be tried are Plaintiffs’ claim that they are

            entitled under 28 U.S.C. § 2201 to a judgment declaring that (1) Plaintiffs

            established a valid lien on the Palm Beach Condo on August 8, 2024 under Fla.

            Stat. § 55.10; (2) Defendant did not establish his Palm Beach Condo as a homestead

            within the meaning of Article X, section 4 of the Florida Constitution prior to the

            fixing of that lien; and (3) Plaintiffs’ lien on the Palm Beach Condo is thus valid

            and enforceable notwithstanding any claim that Mr. Giuliani may make to

            homestead status under the Florida Constitution, and the Palm Beach Condo may

            be executed upon and sold in satisfaction of Plaintiffs’ judgment, including through

            receivership or other lawful means, notwithstanding any claim that Mr. Giuliani

            may make to such homestead status. Defendant’s Second and Third Affirmative

            Defenses, previously asserted in Defendant’s Answer, have been adjudicated in the

            Court’s December 27, 2024 Opinion and Order and are not to be tried. Answer

            ¶¶ 66, 67; ECF No. 172.

         b. Defendant’s position: (i) that Plaintiffs need to prove that this Court has proper

            subject matter jurisdiction in that the Complaint contains no cause of action, as the

            relief sought for a Declaratory Judgment is a remedy, not a cause of action; (ii) that

            Plaintiffs need to prove that the Palm Beach County Property Appraiser erred in

            granting Defendant a homestead tax exemption based upon the evidence required

            by the Palm Beach County Property Appraiser to claim homestead and that the

            Defendant was not entitled to claim a homestead in the State of Florida at his

            Florida Condominium Unit; (iii) that prior to August 8, 2024, Defendant evidenced




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                 his actually intent to live permanently in his Florida Condominium Unit located at

                 315 S. Lake Drive, Unit 5D, Palm Beach, County of Palm Beach, State of Florida

                 and that Defendant actually used and occupied the Florida Condominium Unit prior

                 to August 8, 2024 consistent with the meaning within the Florida Constitution and

                 applicable case law from Federal and State courts in the State of Florida; (iv) that

                 Plaintiffs do not have any valid lien under Fla. Stat. § 55.10 upon the Florida

                 Condominium Unit; (v) that Defendant established the Florida Condominium Unit

                 as his homestead within the meaning of Article X, section 4 of the Florida

                 Constitution prior to August 8, 2024; and (3) Plaintiffs’ lien on the Florida

                 Condominium Unit is invalid and not enforceable against Defendant and Plaintiffs

                 may not enforce their judgment against Defendant’s Florida Condominium Unit.

     V.      Length of Trial; Nonjury Case. The parties estimate that two days will be needed for

             trial. The case will be tried without a jury.1

 VI.         Nature of Case for Purposes of Jury Selection: N/A.

VII.         Names and People to be Mentioned for Purposes of Jury Selection: N/A.

VIII.        Consent to Magistrate Judge: All parties have not consented to trial by a magistrate

             judge.




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   The estimate regarding the length of trial assumes that the witnesses disclosed on Mr. Giuliani’s
 witness list, ECF No. 157, will be permitted to testify. In so estimating, Plaintiffs do not concede
 that the witnesses on Mr. Giuliani’s witness list, ECF No. 157, should be permitted to testify. See
 ECF No. 150 ¶ 4; ECF No. 179.


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IX.      Trial Witnesses:

         a. Plaintiffs’ position: The trial witnesses to be offered by Plaintiffs are listed below.

            None of Plaintiffs’ witnesses will require an interpreter.

          Witness Name                  Live/By deposition         Summary of Substance
          Rudolph W. Giuliani           Live                       Plaintiffs    expect       Mr.
                                                                   Giuliani to testify about his
                                                                   actions     and     intentions
                                                                   relating to establishing a
                                                                   homestead at the Palm Beach
                                                                   Condo within the meaning of
                                                                   the Florida Constitution.


         b. Defendant’s position: The trial witnesses to be offered by Defendant are listed

            below. None of the Defendant’s witnesses will require an interpreter.

Witness Name                        Live/By deposition Summary of Substance
                                                           Defendant expects Rudolph W.
                                                           Giuliani to testify about his having
                                                           a bona fide homestead in his Florida
                                                           Condominium Unit in Palm Beach
                                                           County, Florida and that such
Rudolph W. Giuliani                 Live
                                                           homestead had been his homestead
                                                           prior to August 8, 2024, with such
                                                           homestead established within the
                                                           meaning       of     the     Florida
                                                           Constitution.

                                                           Defendant expects Dr. Maria Ryan
                                                           to testify about Defendant having
                                                           actually resided in his Florida
                                                           Condominium Unit in Palm Beach
Dr. Maria Ryan                      Live                   County, Florida as his homestead
                                                           prior to August 8, 2024, with such
                                                           homestead established within the
                                                           meaning       of    the    Florida
                                                           Constitution.




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                                                            Defendant     expects      Theodore
                                                            Goodman      to     testify   about
                                                            Defendant having actually resided
                                                            in his Florida Condominium Unit
 Theodore Goodman                    Live                   in Palm Beach County, Florida as
                                                            his homestead prior to August 8,
                                                            2024, with such homestead
                                                            established within the meaning of
                                                            the Florida Constitution.


                                                            Defendant expects Monsignor Alan
                                                            Placa to testify about Defendant
                                                            having actually resided in his
                                                            Florida Condominium Unit in Palm
 Monsignor Alan Placa                Live                   Beach County, Florida as his
                                                            homestead prior to August 8, 2024,
                                                            with such homestead established
                                                            within the meaning of the Florida
                                                            Constitution.



 X.       Deposition Designations:

          a. Plaintiffs’ position: Plaintiffs’ do not submit any deposition designations, but

             reserve the right to introduce the sworn testimony of any witness for impeachment,

             rebuttal, or any other purpose allowed by the Federal Rules.

          b. Defendant’s position: Defendant does not submit any deposition designations, but

             reserves the right to introduce the sworn testimony of any witness for impeachment,

             rebuttal, or any other purpose allowed by the Federal Rules.

XI.       Exhibit List: Plaintiffs’ exhibit list is attached hereto as Exhibit A. Defendant’s exhibit

          list is attached hereto as Exhibit B.

XII.      Relief Sought:

          a. Plaintiffs’ position: Plaintiffs seek relief in the form of a judgment (1) declaring

             that Defendant had not established the Palm Beach Condo as his homestead under



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      the Florida Constitution, art. X, § 4, prior to recording of Plaintiffs’ lien on August

      8, 2024; (2) declaring that that Plaintiff’s lien is valid and enforceable under Florida

      law and immune from any subsequent claim of homestead relating to the Palm

      Beach Condo; (3) declaring that the Palm Beach Condo may be executed upon and

      sold to satisfy Plaintiffs’ judgment through any lawful means, including CPLR §

      5228 receivership or other appropriate means, regardless of any homestead claim

      that Defendant may make; and (4) awarding Plaintiffs’ their costs, including

      reasonable attorney’s fees.

   b. Defendant’s position: Defendant seeks judgment in favor of Defendant and

      against Plaintiff (i) denying Plaintiffs’ requested relief for the remedy of a

      Declaratory Judgment; (ii) for a declaration that based on the evidence, prior to

      August 8, 2024, Defendant was a citizen, resident and domiciliary of Palm Beach

      County, Florida, (iii) that the Florida Condominium Unit is homestead property of

      the Defendant, (iv) that the Palm Beach County Property Appraiser did not err in

      granting Defendant a homestead tax exemption based upon the evidence required

      by the Palm Beach County Property Appraiser and submitted by Defendant to claim

      homestead, (v) that the Defendant was and is entitled to claim the Florida

      Condominium Unit as his homestead in the State of Florida within the meaning

      within the Florida Constitution and applicable case law from Federal and State

      courts in the State of Florida; (vi) that Plaintiffs do not have any valid lien under

      Fla. Stat. § 55.10 upon the Florida Condominium Unit, and (vii) that Plaintiffs have

      not proven that Defendant did not establish the Florida Condominium Unit as his




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               homestead within the meaning of Article X, section 4 of the Florida Constitution

               prior to August 8, 2024.

XIII.      Consent to Less than Unanimous Verdict: N/A.

XIV.       Stipulation: The parties also have stipulated to all of the facts mutually agreed to by

           the parties in the summary judgment 56.1 filings (ECF Nos. 45, 57) which is attached

           hereto as Exhibit C.


  Michael J. Gottlieb                                s/ Aaron E. Nathan
  Meryl C. Governski (admitted pro hac vice)         Aaron E. Nathan
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                                     Counsel for Plaintiffs


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  Attorneys for Defendant




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Dated: January 8, 2025
New York, New York




SO ORDERED.

Dated: January , 2025                      _____________________________
       New York, New York                  LEWIS J. LIMAN
                                           United States District Judge




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